      Case 4:06-cr-00052 Document 948 Filed on 09/17/10 in TXSD Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
VS.                                            §     CRIMINAL NO. H-06-52-7
                                               §
                                               §
FIDENCIO GALLEGOS                              §

                                             ORDER

       The defendant, Fidencio Gallegos, filed an unopposed motion to continue the sentencing

hearing. (Docket Entry No. 947). The motion for continuance is granted. The sentencing hearing

is reset to December 2, 2010, at 9:00 a.m.

              SIGNED on September 17, 2010, at Houston, Texas.

                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
